                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                               WESTERN DIVISION

 UNITED STATES OF AMERICA,

                                                           No. CR 14-4059-1-MWB
                Plaintiff,
 vs.
                                                     MEMORANDUM OPINION AND
 MARK PAUL WELLER,                                      ORDER REGARDING
                                                     CALCULATION OF CRIMINAL
                                                            HISTORY
                Defendant.
                               ___________________________

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      In this case, the defendant pleaded guilty to one count of conspiracy to distribute
methamphetamine and one count of distributing methamphetamine. Prior to sentencing,
he challenged the scoring of one criminal history point for his prior conviction for
contributing to the delinquency of a minor, pursuant to U.S.S.G. § 4A1.2(c). The
defendant contends that “counting” this prior conviction improperly changes his criminal
history category from I to II and increases his advisory sentencing guidelines range from
135 to 168 months to 151 to 188 months. I now enter this memorandum opinion and
order regarding the calculation of the defendant’s criminal history.


                               I.     INTRODUCTION
                             A.      Factual Background
      According to the final PSIR (docket no. 73), defendant Mark Paul Weller came to
the attention of law enforcement officers on April 24, 2014, when they responded to a
911 emergency call at co-defendant Christopher Julin’s residence. The 911 call had been
made by Julin’s six-year-old child, who claimed that his father would not wake up. When
officers arrived at Julin’s residence, they found him asleep and woke him up, but they
also found methamphetamine. Julin told law enforcement officers that Weller was his
primary drug source at that time. PSIR, ¶ 4.
      Thereafter, on May 7, 2014, law enforcement officers conducted a controlled drug
buy from Weller in rural Schleswig, Iowa, during which Weller offered to sell an
undercover agent four ounces (113.4 grams) of methamphetamine for $4,000, but the
undercover agent actually purchased two ounces (55.89 grams) for $2,000. Testing
showed the methamphetamine to be 99.6% pure, resulting in 112.94 grams offered by


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Weller. Id. at ¶ 5. Further investigation showed that Weller made additional sales of
methamphetamine and traded methamphetamine with Julin for an SKS rifle. Weller was
arrested on June 9, 2014, after a traffic stop of a vehicle that he was driving during which
methamphetamine was found on a passenger in the vehicle, Weller’s sister, and the SKS
rifle was found on the front seat area between Weller and another passenger. See id. at
¶¶ 6-13. The PSIR attributed 336.44 grams of actual (pure) methamphetamine and
2.0554 kg of methamphetamine mixture to Weller, resulting in a marijuana equivalency
of 10,839.56 kg. Id. at ¶ 19.
       The PSIR reflects that Weller had only two prior arrests leading to criminal
convictions. Weller was arrested in Crawford County, Iowa, on September 15, 2005,
when he was 18 years old, which led to his conviction for operating a vehicle while
intoxicated. Weller was sentenced on that conviction, on December 12, 2005, to 30 days
in jail, with all but 28 days suspended, one year of probation, and a fine. PSIR at ¶ 30.
Weller’s probation on that offense was extended to December 12, 2007, by an Order
filed on December 11, 2006, but Weller was actually discharged from probation on
October 3, 2007. Id.
       Weller’s second arrest leading to a conviction was on May 11, 2006, when he was
19 years old, in Woodbury County, Iowa. That arrest led to his conviction of an open
container offense and contributing to the delinquency of a minor. Id. at ¶ 31. The PSIR
describes the conduct leading to this arrest as follows:
              The Complaint reflects that, at 3:49 a.m., officers stopped a
              vehicle for driving down the wrong way of a street. Three
              occupants were inside the vehicle, including two juveniles of
              whom one was the driver[,] and the defendant, who was
              sitting in the back seat. The defendant contributed to the
              juveniles violating the curfew law (Count 2). In the rear of
              the vehicle under the defendant’s seat, an officer located an


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             open can of beer that had been dumped onto the floorboard of
             the car (Count 1).
PSIR at ¶ 31. Weller contends that this incident happened early in the morning of the
day after his high school graduation. Defendant’s Sentencing Memorandum And Brief
In Support Of Motion For Downward Variance (docket no. 76), 7.              The criminal
Complaint & Affidavit, id., Exhibit C (docket no. 76-3), filed May 11, 2006, in the Iowa
District Court For Woodbury County, specifically charges that Weller “did contribute or
knowingly encourage, contribute, or in any manner cause a minor to violate any law of
this state or any ordinance of an[y] city” and explains that “the defendant was with two
juveniles that were out past there [sic] curfew.”   On May 11, 2006, Weller was given
a $50 fine for the open container offense and a $50 fine for the contributing to the
delinquency of a minor offense. PSIR at ¶ 31.


                           B.      Procedural Background
      Weller was originally charged as the sole defendant in a two-count Indictment
(docket no. 2), handed down July 24, 2014, charging him with methamphetamine
offenses. Approximately a month later, on August 27, 2014, a grand jury handed down
a Superseding Indictment (docket no. 7) against both Weller and Julin. Weller and Julin
were both charged, in Count 1, with conspiracy, from about 2013 and continuing to
about July 2014, to distribute 500 grams or more of a mixture or substance containing a
detectable amount of methamphetamine which contained 50 grams or more of actual
(pure) methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), and 846.
Weller was also charged, in Count 2, with distributing 50 grams or more of a mixture
or substance containing a detectable amount of methamphetamine which contained 5
grams or more of actual (pure) methamphetamine, on or about May 7, 2014, in violation
of U.S.C. §§ 841(a)(1) and 841(b)(1)(B). Weller initially pleaded not guilty to both of

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the charges against him on September 4, 2014, see Arraignment Minutes (docket no. 25),
and a jury trial was set for November 3, 2014. See Order Setting Jury Trial In Criminal
Case (docket no. 28).
       After various continuances of the trial date, however, Weller entered a guilty plea
before United States Magistrate Judge Leonard T. Strand to both counts against him,
without a plea agreement, on December 17, 2014. See Plea Hearing Minutes (docket no.
51); Report And Recommendation Concerning Guilty Plea (docket no. 52). I accepted
Judge Strand’s recommendation to accept Weller’s guilty plea by Order (docket no. 55),
filed that same day. Weller’s sentencing hearing was originally set for April 23, 2015,
see Order (docket no. 71), but was ultimately reset for May 5, 2015. See Order (docket
no. 78).1
       In a Draft PSIR (docket no. 70), the probation officer scored 1 criminal history
point for Weller’s conviction for contributing to the delinquency of a minor (and the open
container offense). See Draft PSIR at ¶ 30. The probation officer determined that, with
one other criminal history point for Weller’s prior conviction for operating a vehicle
while intoxicated, Weller’s criminal history category was II, see id. at ¶ 33, and that,
with other calculations, this resulted in an advisory sentencing guidelines range of 151 to
188 months of imprisonment.       Id. at 65.    Weller objected on the ground that the
conviction for contributing to the delinquency of a minor was not “scoreable” under
U.S.S.G. § 4A1.2(c). See Objection To Draft PSIR (docket no. 72).



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         On January 21, 2015, Weller’s co-defendant, Christopher Julin, pleaded guilty
before Judge Strand to the single methamphetamine conspiracy charge against him, see
Plea Hearing Minutes (docket no. 63), Judge Strand recommended that I accept Julin’s
guilty plea, see Report And Recommendation (docket no. 64), and I accepted Judge
Strand’s recommendation. See Order (docket no. 67). Julin’s sentencing hearing is set
for May 19, 2015. See Order (docket no. 77).

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      In the final PSIR (docket no. 73), the probation officer agreed that the open
container conviction was not “scoreable,” but concluded that the conviction for
contributing to the delinquency of a minor was “scoreable.” Id. at ¶ 31 (Probation
Officer’s Response). The probation officer pointed out that IOWA CODE § 709A.1
identifies several ways in which the offense of contributing to the delinquency of a minor
can be committed, but that “[i]t does not appear the sentencing order specified which
subsection of 709A the defendant pled guilty to.” Id. The probation officer then
concluded,
             It is the probation office’s recommendation that the offense of
             Contributing to the Delinquency of a Minor should be scored
             because it does not share any common elements (encouraging
             minors to violate the law) with any of the listed offenses
             enumerated under 4A1.2(c)(1). The scoring of this offense
             was not changed, although the presentence report was
             amended to include a description of the offense.
PSIR at ¶ 31. The probation officer acknowledged, however, that, “if the Court agrees
with the defendant, the Criminal History Category would be I, which would establish an
advisory guideline range of 135 to 168 months.” Id.2
      On April 15, 2015, Weller filed a Sentencing Memorandum And Brief In Support
Of Motion For Downward Variance (Sentencing Memorandum) (docket no. 76). In his
Sentencing Memorandum, Weller, inter alia, reiterated his prior objection to “scoring”
a criminal history point for his prior conviction for contributing to the delinquency of a



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        Had Weller been eligible for the “safety valve” pursuant to 18 U.S.C. § 3553(f)
and U.S.S.G. § 5C1.2, but for counting his prior offense for contributing to the
delinquency of a minor in his criminal history, the difference in his sentence resulting
from “counting” his prior conviction likely would have been even more dramatic.



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minor, pursuant to U.S.S.G. § 4A1.2(c). It is this challenge to his criminal history
calculation that I will address in this opinion.3 On April 21, 2015, the prosecution filed
a Response To Defendant’s Sentencing Memorandum And Motion For Downward
Variance (docket no. 80).
      I held Weller’s sentencing hearing on May 5, 2015, and I now enter this written
ruling concerning Weller’s challenge to the criminal history calculation in the PSIR.


                            C.    Arguments Of The Parties
      In his Sentencing Memorandum, Weller argues that contributing to the
delinquency of a minor is similar to several offenses listed under USSG § 4A1.2(c)(1)
and (2), and, thus, his conviction for this offense is not “scoreable.” Weller urges me
to follow Senior Judge Donald E. O’Brien’s reasoning in United States v. Leon-Alvarez,
No. CR05-4126-DEO, 2008 WL 5429724 (N.D. Iowa Dec. 31, 2008), addressing a
similar question. He admits that contributing to the delinquency of a minor, as defined
in IOWA CODE § 709A.1, is not listed in either § 4A1.2(c)(1) or § 4A1.2(c)(2). Thus,
he argues, I must determine whether that offense is similar to any of the listed offenses,
using the “common sense approach,” involving consideration of several factors, that is
now mandated in Application Note 12. He points out that, in Leon-Alvarez, Judge
O’Brien acknowledged that contributing to the delinquency of a minor is not the same
“element-for-element” as any listed offense in either subsection of § 4A1.2(c), but that,


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        On April 15, 2015, Weller also filed a Motion For Downward Variance (docket
no. 75), which was before me at his sentencing hearing. In that Motion, Weller sought
a downward variance from his advisory sentencing guidelines range on the ground that
the Sentencing Guidelines concerning methamphetamine offenses are still too harsh, as I
found in United States v. Hayes, 948 F. Supp. 2d 1009 (N.D. Iowa 2013), even after the
two-level reduction in the 2014 Sentencing Guidelines. I addressed that contention on
the record in the course of Weller’s sentencing hearing.

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using the “common sense approach,” it was not an offense serious enough to warrant
increased punishment for a subsequent offense. Using this approach, he argues, Senior
Judge O’Brien found that contributing to the delinquency of a minor was similar to
offenses in both subsections of § 4A1.2(c).
       Weller argues that his prior conviction for contributing to the delinquency of a
minor is also a simple misdemeanor that was punishable by a maximum of 30 days in jail
or a $500 fine. Thus, he argues that this offense carries less serious punishments than
can be imposed for several of the “listed” offenses in § 4A1.2(c). He points out that his
actual punishment was even less severe, consisting of only a $50 fine, and that the
“delinquent” behavior to which he contributed was the petty offense of minors being out
past curfew. He also argues that this offense says little about the likelihood of recurring
criminal conduct and has nothing to do with the methamphetamine-dealing conduct for
which he faces a mandatory minimum sentence of 10 years.
       Weller reiterated these arguments at his sentencing hearing. Also, in response to
my questions, defense counsel suggested that it might be within my discretion to disagree
with the applicable guideline on policy grounds, and that it would be within my discretion
to depart or vary from the advisory sentencing guidelines range on the basis of over-
representation of his criminal history.
       In its Response, the prosecution admits that the scoring of Weller’s criminal
history “presents a close question.” Response at 2. Nevertheless, the prosecution
concurs with the probation officer’s analysis, in the PSIR, in response to Weller’s
objection. The prosecution also contends that the limited circuit-based case law on the
issue does not support Weller’s argument. In particular, the prosecution points out that
the elements of contributing to the delinquency of a minor are not really like nor do they
share enough similarities to those of any of the listed offenses in § 4A1.2(c). The
prosecution admits that the actual facts of Weller’s conviction for contributing to the

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delinquency of a minor do not present a compelling reason to count the conviction in
Weller’s criminal history calculation.      Nevertheless, the prosecution argues, if this
conviction is “counted,” I can consider the underlying facts of the offense in an alternative
manner, such as finding over-representation of criminal history or granting a variance,
to achieve a reasonable sentence.
       The prosecution also reiterated its written arguments at Weller’s sentencing
hearing, including its position that over-representation of criminal history might be a
more appropriate way to address the pettiness of the prior conviction. The prosecution
did opine that Weller was entitled to some relief in this case.


                                II.    LEGAL ANALYSIS
                        A.      Standards For Interpretation Of
                                   Sentencing Guidelines
       As the Eighth Circuit Court of Appeals has explained, “‘The Guidelines reflect
the will of Congress and a Congressional desire for uniform and fair sentencing.’” United
States v. Armstrong, ___ F.3d ___, ___, 2015 WL 1600474, *6 (8th Cir. April 10, 2015)
(quoting United States v. Townsend, 408 F.3d 1020, 1023 (8th Cir. 2005)).
Consequently, courts “‘employ basic rules of statutory construction when interpreting the
Guidelines.’” Id. More specifically,
              “We begin our review by examining the plain language of the
              Guidelines, ‘and where that is unambiguous we need look no
              further.’” United States v. Salem, 587 F.3d 868, 870 (8th
              Cir.2009) (quoting United States v. Abumayyaleh, 530 F.3d
              641, 650 (8th Cir.2008)). In doing so, we must keep in mind
              that “[i]t is ‘a cardinal principle of statutory construction that
              we must give effect, if possible, to every clause and word of
              a [guideline].’” United States v. Johnson, 703 F.3d 464, 468
              (8th Cir.2013) (quoting Williams v. Taylor, 529 U.S. 362,
              404, 120 S.Ct. 1495, 146 L.Ed.2d 389 (2000)).

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United States v. Collins, 754 F.3d 626, 630-31 (8th Cir. 2014). Also, courts often look
to dictionaries to determine the ordinary meaning of words in the Guidelines. Armstrong,
___ F.3d at ___, 2015 WL 1600474 at *6. The situation is different, if the guideline is
ambiguous:
             If “an ambiguous section of the Sentencing Guidelines may
             be given either of two plausible readings,” we must resolve
             the ambiguity in the defendant's favor. United States v.
             Rodriguez–Arreola, 313 F.3d 1064, 1067 (8th Cir.2002).
             This “canon of strict construction” has constitutional
             underpinnings in both the accused's Fifth Amendment right
             to due process and the legislative branch's exclusive Article I
             “power to define crimes and their punishment.” United States
             v. Lanier, 520 U.S. 259, 265 & n. 5, 266, 117 S.Ct. 1219,
             137 L.Ed.2d 432 (1997). “It is founded on the tenderness of
             the law for the rights of individuals,” and “is perhaps not
             much less old than construction itself.” United States v.
             Wiltberger, 18 U.S. (5 Wheat.) 76, 95, 5 L.Ed. 37 (1820)
             (Marshall, C.J.).
United States v. Parker, 762 F.3d 801, 806-07 (8th Cir. 2014).
      The Eighth Circuit Court of Appeals reviews a district court’s interpretation and
application of the sentencing guidelines de novo. See, e.g., United States v. Sacus, ___
F.3d ___, ___, 2015 WL 1934468, *4 (8th Cir. April 30, 2015).


                          B.      The Applicable Guideline
      1.     Text of the guideline
      The Sentencing Guideline at the center of Weller’s challenge is U.S.S.G.
§ 4A1.2(c), which provides, as follows:




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        (c)   Sentences Counted and Excluded
              Sentences for all felony offenses are counted.
              Sentences for misdemeanor and petty offenses are
              counted, except as follows:
              (1)   Sentences for the following prior offenses and
                    offenses similar to them, by whatever name they
                    are known, are counted only if (A) the sentence
                    was a term of probation of more than one year
                    or a term of imprisonment of at least thirty days,
                    or (B) the prior offense was similar to an instant
                    offense:
                              Careless or reckless driving
                              Contempt of court
                              Disorderly conduct or disturbing the
                    peace
                          Driving without a license or with a
                    revoked or suspended license
                              False information to a police officer
                              Gambling
                              Hindering or failure to obey a police
                    officer
                              Insufficient funds check
                              Leaving the scene of an accident
                              Non-support
                              Prostitution
                              Resisting arrest
                              Trespassing.
              (2)   Sentences for the following prior offenses and
                    offenses similar to them, by whatever name they
                    are known, are never counted:

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                                     Fish and game violations
                                     Hitchhiking
                                     Juvenile status offenses and truancy
                                  Local ordinance violations (except those
                           violations that are also violations under state
                           criminal law)
                                     Loitering
                                     Minor traffic infractions (e.g., speeding)
                                     Public intoxication
                                     Vagrancy.
U.S.S.G. § 4A1.2(c); see also United States v. Ruacho, 746 F.3d 850, 853 (8th Cir.
2014) (describing this provision).
      2.     Tests for “similarity”
      Prior to an amendment of the pertinent guideline in 2007, the Eighth Circuit Court
of Appeals “adopted an ‘elements’ or ‘essential characteristics’ test to determine whether
two crimes were ‘similar’ for purposes of section 4A1.2(c).” United States v. Barrientos,
670 F.3d 870, 871 (8th Cir. 2012) (citing United States v. Borer, 412 F.3d 987, 992 (8th
Cir. 2005)). However,
             Effective November 1, 2007, the Sentencing Commission
             “resolve[d] [the] circuit conflict over the manner in which a
             court should determine whether a non-listed offense is
             ‘similar to’ an offense listed at § 4A1.2(c)(1) or (2).” USSG
             App. C, Amend. 709. In passing Amendment 709, the
             Commission adopted the Fifth Circuit's multi-factor,
             “common sense” approach from [United States v.]
             Hardeman, [933 F.2d 278, 281 (5th Cir. 1991)].
Barrientos, 670 F.3d at 871-72. More specifically, Application Note 12 explains,




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            12.    Application of Subsection (c).—
                   (A)   In General.--In determining whether an unlisted
                         offense is similar to an offense listed in
                         subsection (c)(1) or (c)(2), the court should use
                         a common sense approach that includes
                         consideration of relevant factors such as (i) a
                         comparison of punishments imposed for the
                         listed and unlisted offenses; (ii) the perceived
                         seriousness of the offense as indicated by the
                         level of punishment; (iii) the elements of the
                         offense; (iv) the level of culpability involved;
                         and (v) the degree to which the commission of
                         the offense indicates a likelihood of recurring
                         criminal conduct.
                   (B)   Local Ordinance Violations.-- A number of local
                         jurisdictions have enacted ordinances covering
                         certain offenses (e.g., larceny and assault
                         misdemeanors) that are also violations of state
                         criminal law. This enables a local court (e.g., a
                         municipal court) to exercise jurisdiction over
                         such offenses. Such offenses are excluded from
                         the definition of local ordinance violations in
                         § A1.2(c)(2) and, therefore, sentences for such
                         offenses are to be treated as if the defendant had
                         been convicted under state law.
                   (C)   Insufficient Funds Check.-- “Insufficient funds
                         check,” as used in § 4A1.2(c)(1), does not
                         include any conviction establishing that the
                         defendant used a false name or non-existent
                         account.
U.S.S.G. § 4A1.2, Application Note 12. The Eighth Circuit Court of Appeals “ha[s]
expressly adopted the test from Amendment 709, eschewing our previous ‘“elements” or



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“essential characteristics” test.’” Ruacho, 746 F.3d at 854 (quoting Barrientos, 670 F.3d
870, 871 (8th Cir. 2012), with internal citations omitted)).
      3.     Applications of the guideline
      The Eighth Circuit Court of Appeals has actually applied § 4A1.2(c) only a few
times since Amendment 709 changed the applicable test.4 Although the court concluded,
in United States v. Barrientos, 670 F.3d 870 (8th Cir. 2012), that the proper test of
“similarity” under § 4A1.2(c) is the test adopted by the Sentencing Commission in
Amendment 709, the court did not, in fact, apply that test in that case. 670 F.3d at 871-
72. Rather, the court concluded that the district court had mistakenly relied on a holding
in one of its prior decisions, applying the “elements” test, that liquor consumption by
persons under 21 was entitled to a criminal history point. Id. at 873. The court found
that “[a]bsent from the district court’s determination . . . was any discussion of, or
reference to, the factors now listed under the commentary to section 4A1.2.” Id. at 873.
That failing required the appellate court to reverse the district court’s sentence and to


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          The Eighth Circuit Court of Appeals concluded that it was not required to apply
the test in Amendment 709 and Application Note 12 for various reasons in some decisions
after Amendment 709 became effective. See United States v. Simms, 695 F.3d 863, 866
(8th Cir. 2012) (concluding that it not consider the merits of the question of whether a
conviction for petty larceny should be counted under § 4A1.2(c), because the sentencing
court stated that, even if the offense was not counted, he would have imposed the same
sentence); United States v. Pando, 545 F.3d 682, 684 (8th Cir. 2008) (concluding that it
need not determine that Amendment 709 was retroactively applicable to the prior
conviction for “driving while ability impaired” (DWAI) under Colorado law at issue,
“because the district court’s scoring of a criminal history point for Pando’s DWAI
conviction was proper under Application Note 5 to section 4A1.2, in effect at the time of
Pando’s underlying crimes”); United States v. Johnston, 533 F.3d 972, 978 (8th Cir.
2008) (finding it unnecessary to reach the issue of whether the defendant’s convictions
for underage possession of alcohol should be counted under § 4A1.2(c)(2), because the
error would have been “harmless in any event,” because of the applicable mandatory
minimum sentence).

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remand for resentencing. Id. Thus, the Barrientos decision provides no insight on how
the factors in the proper test under § 4A1.2(c) are to be applied.
      In the subsequent decision of the Eighth Circuit Court of Appeals in Ruacho, the
court did actually apply the multi-factor test to determine whether convictions for
possession of a small amount of marijuana and possession of marijuana in a motor
vehicle, under Minnesota law, should be counted under § 4A1.2(c). Ruacho, 746 F.3d
at 853-56. As to comparison of possession of a small amount of marijuana to the listed
offenses of public intoxication and disorderly conduct, the court explained:
                    The government concedes that the first two factors—
             punishment comparison and seriousness of the offense—
             weigh in favor of Ruacho. Public intoxication is not a crime
             in Minnesota. Minn.Stat. § 340A.902. Disorderly conduct is
             a misdemeanor, so it is actually punished more heavily than a
             petty misdemeanor like possession of a small amount of
             marijuana. See Minn.Stat. § 609.72; Minn.Stat. § 609.02,
             subd. 3.
                    However, the elements of these crimes are completely
             different. Marijuana possession entails (1) a person who
             unlawfully possesses a small amount of marijuana. Minn.Stat.
             § 152.027, subd. 4(a). The elements of disorderly conduct are
             (1) engaging in brawling or fighting, disturbing a lawful
             assembly or meeting, or engaging in offensive, obscene,
             abusive, boisterous, or noisy conduct or in offensive,
             obscene, or abusive language; (2) tending reasonably to
             arouse alarm, anger, or resentment in others; (3) in a public
             or private place; (4) knowing, or having reasonable grounds
             to know that it will, or will tend to, alarm, anger or disturb
             others or provoke an assault or breach of the peace.
             Minn.Stat. § 609.72, subd. 1. Predictably, these crimes are
             found in separate chapters of the Minnesota Statutes because
             they involve completely different actions. No elements are the
             same. Ruacho contends that marijuana possession risks

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              disturbing the peace, so the two crimes are sufficiently
              similar. However, virtually every law is designed to prevent
              disturbances of the peace to some extent. Ruacho's argument
              would envelop too many offenses. Thus, this factor weighs in
              favor of the government.
Ruacho, 746 F.3d at 854-55 (footnote omitted).
       The court found that one of its prior decisions, United States v. Foote, 705 F.3d
305 (8th Cir. 2013), had “already decided the culpability and recidivism factors.”
Ruacho, 746 F.3d at 855. The court explained,
              The Foote court noted that “[d]rug possession ‘suggests a
              more calculating, a more resourceful, and a more dangerous
              criminal’ than someone who commits a minor traffic
              infraction.” Foote, 705 F.3d at 308 (quoting United States v.
              Roy, 126 F.3d 953, 955 (7th Cir.1997)). The same
              observation applies here. Finally, the Foote court determined
              that convictions involving illegal narcotics correlate strongly
              to recidivism. Foote, 705 F.3d at 308. Although Ruacho
              argues that many teenagers experiment with small amounts of
              marijuana, we have already determined that this factor favors
              the government in narcotics cases.
Ruacho, 746 F.3d at 855. Based on its analysis under Amendment 709, the court
concluded that the defendant had “failed to demonstrate that possession of a small amount
of marijuana is sufficiently similar to public intoxication, disorderly conduct, or any other
enumerated offense,” and that no other federal appellate court had held that a prior
conviction for such an offense was not countable. Id. Thus, the defendant in that case
was properly awarded a criminal history point for his petty misdemeanor violation for
possession of a small amount of methamphetamine. Id.
       In Ruacho, the court performed essentially the same analysis, and reached
essentially the same conclusions, as to each of the factors when it considered whether a
prior conviction for possession of marijuana in a motor vehicle should “count” in the

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defendant’s criminal history. Id. at 855-56. As to the third “elements” factor, however,
the court concluded that, while there was an “overlap” in the operation of a motor vehicle
element of the prior conviction and the listed reckless or careless driving offenses, that
“overlap” was not enough to weigh in favor of not counting the prior conviction. Id. at
856. This was so, because the prior conviction was listed in a different chapter of the
Minnesota criminal statutes, and such limited commonality would preclude counting
criminal history points for several driving-related offenses like driving under the
influence of alcohol. Id. (citing United States v. Perez de Dios, 2737 F.3d 1192, 1199
(10th Cir. 2001) (concluding that “superficial similarity” may be overshadowed by
“significant differences”).
       I have found nothing in post-amendment decisions of the Eighth Circuit Court of
Appeals or other federal circuit courts of appeals suggesting that any one of the five
factors is determinative by itself. Rather, in Ruacho, the court specifically referred to
the test under Amendment 709 and Application Note 12 as a “multi-factor balancing
test.” Ruacho, 746 F.3d at 853. The court in Ruacho certainly considered the lack of
any overlap in elements between possession of a small amount of marijuana and the listed
offenses of public intoxication and disorderly conduct to be important. It also considered
that only slight overlap in elements between possession of marijuana in a motor vehicle
and reckless or careless driving was not enough to establish the required similarity. Even
so, the court’s analysis did not simply end with those determinations. Id. at 854-55, 856.
Also, the Eleventh Circuit Court of Appeals has recognized that “the five-factor test
under section 4A1.2(c) requires that we consider the underlying facts of [the defendant’s
prior] conviction,” United States v. Garcia-Sandobal, 703 F.3d 1278, 1284 (8th Cir.
2013) (emphasis added), so that a “categorical” analysis of the underlying offense is not
enough.



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      I have not found, and the parties have not cited, any decision of the federal circuit
courts of appeals after Amendment 709 became effective that considered whether or not
a prior conviction for contributing to the delinquency of a minor should be “counted”
under § 4A1.2(c). But see United States v. Leon-Alvarez, 532 F.3d 815 (8th Cir. 2008)
(remanding, because the district court’s refusal to count a 1993 conviction for
contributing to the delinquency of a minor was reversible error, where the district court
had considered § 4A1.2(c) “advisory,” allowing him to reject counting the offense
because it was “akin” to listed offenses, without conducting the mandatory guidelines
calculation of the defendant’s criminal history category); United States v. Overholt, 307
F.3d 1231, 1252-53 (10th Cir. 2002) (pre-amendment case, cited by the prosecution,
here, reviewing for plain error assessing one criminal history point for contributing to
the delinquency of a minor, where the defendant did not object at sentencing, and
considering only whether that prior offense was “plainly similar” to a listed offense).
One district court decision addressing the matter did so only cursorily. See United States
v. Watson, No. 2:09cv195, 2009 WL 3233468, * (E.D. Va. Oct. 7, 2009) (§ 2255
decision finding no ineffective assistance of counsel in failing to challenge a criminal
history point for contributing to the delinquency of a minor, because counsel’s objection
would have made no difference, where the district court reasonably could have and would
have found the criminal history point applied with no analysis of how the multi-factor
test would lead to this conclusion). On the other hand, a decision by Senior Judge
O’Brien in our district, in United States v. Leon-Alvarez, No. CR05-4126-DEO, 2008
WL 5429724 (N.D. Iowa Dec. 31, 2008), did provide a more thorough application of
the multi-factor analysis mandated by Amendment 709 and Application Note 12.
      In Leon-Alvarez, Senior Judge O’Brien’s multi-factor analysis was as follows:
                    As for the perceived seriousness of the unlisted
             offense, Leon faced up to 30 days imprisonment, but was
             sentenced to only five hours jail. This suggests a level of
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        seriousness lower than the generic state crime of contributing
        to delinquency. As reflected in the arrest report recorded
        shortly after Leon's 1993 arrest (see Government's Ex. 2 at
        2, Docket No. 45 at 2 (filed under seal)), Leon committed the
        offense by keeping a minor girl, who appeared intoxicated,
        out past curfew. Given the lenient sentence imposed and the
        petty nature of the offense, this factor weighs heavily in favor
        of finding the unlisted offense is similar to those listed in
        § 4A1.2 (c)(1).
                Turning to the elements of the offense, Section 233.1
        of the Iowa Code—the state statute addressing the offense of
        contributing to delinquency—should be considered. Leon was
        charged with violating subsection 3 of section 233.1, which
        makes it a simple misdemeanor “[t]o knowingly encourage,
        contribute, or in any manner cause such child to violate any
        law of this state or ordinance of any city.” Iowa Code §
        233.2(3). The complaint and affidavit charging Leon with
        contributing to delinquency alleges “Defendant on or about
        the 17th day of December, 1993 ... did contribute or
        knowingly encourage, contribute, or in any manner cause a
        minor to violate any law of this state or any ordinance of this
        city.” Government's Ex. No. 2 at 2.12 Neither Iowa Code
        section 233.1(3), nor the other code sections under which
        Leon was charged in 1993, appear to precisely correspond,
        element-for-element, to any of the offenses listed under
        § 4A1.2 (c)(1). But cf. United States v. Reyes-Maya, 305 F.3d
        362, 367 (5th Cir.2002) (concluding that the elements of a
        prior and listed offense need not be identical for the offense
        to be similar). Still, this factor is not dispositive of non-
        similarity, and in any event does not, in this Court's
        estimation, preclude the overall conclusion that the factors
        enumerated by Amendment 709, “taken as a whole, indicate
        that the offense is, like the listed offenses, neither particularly
        serious nor likely to indicate recurring criminal conduct.”
        [United States v.] Hardeman, 933 F.2d [278,] 282 [(5th
        Cir.1991)]. Indeed, as explained below, Amendment 709
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        confirms that the question of “similarity” under § 4A1.2 (c)
        is a common-sense determination aimed at excluding offenses
        that, although not listed as excludable, are not serious enough
        to warrant increased punishment for a subsequent offense.
                Finally, turning to the third and fourth factors—level
        of culpability involved and the degree to which the
        commission of the offense indicates a likelihood of recurring
        criminal conduct—the Court again notes the minor nature of
        Leon's prior offense, as reflected in the sentence of five hours
        jail and fine of $40 he received. This extremely light sentence
        suggests a low level of culpability and low predictive capacity
        for future criminality. More importantly, contributing to
        delinquency denotes a level of blameworthiness analogous to
        that of the offenses listed in § 4A1.2(c)(1). See Supplement to
        App. C, Amendment 709 at 239 (noting that Amendment 709
        “responds to concerns that ... some misdemeanors and petty
        offenses counted under the guidelines involve conduct that is
        not serious enough to warrant increased punishment upon
        sentencing for a subsequent offense.”). This Court is
        persuaded that Leon's 1993 offense is precisely the type of
        minor offense the Commission had in mind when it amended
        § 4A1.2(c) (id.), especially given the fact that inclusion of his
        offense in calculating his criminal history would, by itself,
        disqualify Leon from safety valve eligibility. Id. (noting that
        Amendment 709 also “responds to concerns that ... the
        presence of a misdemeanor or petty offense in a rare case can
        affect the sentence in the instant offense in a way that is
        greatly disproportionate to the seriousness of the prior offense
        (such as when such a prior offense alone disqualifies a
        defendant from safety valve eligibility).”). For Leon, a
        finding by this Court that the 1993 conviction must be counted
        would mean 23 additional months of prison-nearly two years
        of additional prison time for a conviction originally punished
        by five hours imprisonment and a $40 fine.



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Leon-Alvarez, 2008 WL 5429724 at *5-*6 (footnotes omitted). For these reasons, Judge
O’Brien declined to “count” the defendant’s prior conviction for contributing to the
delinquency of a minor in that defendant’s criminal history calculation. Id. at *6.


                          C. Interpretation Of The Guideline
       My task begins with interpretation of § 4A1.2(c), and, more specifically, with an
examination of the plain language of the guideline. Collins, 754 F.3d at 630-31. I note
that the guideline states that it applies to “the following prior offenses and offenses similar
to them.” U.S.S.G. § 4A1.1(c)(1) and (2). Because this language refers to “offenses
similar to them,” i.e., similar to listed offenses, not merely similar to a listed offense,
this language is, at best, ambiguous as to whether it requires a comparison of a prior
offense to a single specific listed offense, or to the listed offenses as a group. Because I
conclude that either reading is plausible, I must apply the rule of lenity and resolve the
resulting ambiguity in the defendant’s favor. Parker, 762 F.3d at 806-07. Such lenity,
here, would place more emphasis on the comparison of the character of the prior offense
and the character of the listed offenses as a group, and less emphasis on any comparison
of the prior offense with a specific listed offense. Indeed, this conclusion is consistent
with the multi-factor test in Amendment 709 and Application Note 12, which plainly de-
emphasized an offense-to-offense comparison and similarity of elements of the prior
offense with the elements of a single listed offense by making “the elements of the [prior]
offense” only one of several factors that must be balanced. See U.S.S.G. § 4A1.2(c),
Application Note 12. It is also consistent with the statement of the factors in the multi-
factor test. The first factor invites “comparison of punishments imposed for the listed
and unlisted offenses,” see id. (emphasis added), which, again, suggests consideration
of the listed offenses as a group. The second, fourth, and fifth factors, read in context,
plausibly suggest—and certainly do not unambiguously exclude—comparison of the prior

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offense to the listed offenses as a group. Even to the extent that the guideline and the
test can be read to require a comparison of the prior offense to a specific listed offense,
the multi-factor test does not establish any priority or hierarchy among the listed factors,
such that any one of them might be determinative, but requires a balancing of all of the
relevant factors. See Ruacho, 746 F.3d at 853 (describing the test as a “multi-factor
balancing test”).
       Furthermore, the plain language of the test of “similarity” established by
Amendment 709 and Application Note 12 does not make the five listed factors the
exclusive factors that a court can consider. Rather, they establish “a common sense
approach that includes consideration of relevant factors such as” the five listed factors.
See U.S.S.G. § 4A1.2(c), Application Note 12 (emphasis added). Thus, a district court
may consider other “relevant factors,” besides those listed, which may include, for
example, how the prior offense compares to the listed offenses as a group. See, e.g.,
United States v. Potes-Castillo, 638 F.3d 106, 109-10 (stating that, under § 4A1.2(c)(1),
“misdemeanor and petty offenses of the type listed in section 4A1.2(c)(1) are excluded
provided, among other things, that the sentences imposed were not too severe” (emphasis
added)).   The possibility that other factors could be relevant certainly justifies the
determination by the Eleventh Circuit Court of Appeals that “the five-factor test under
section 4A1.2(c) requires that we consider the underlying facts of [the defendant’s] prior
conviction.” Garcia-Sandobal, 703 F.3d at 1284.


                         D.      Application Of The Guideline
       Both the probation officer and the prosecution argue that the apparent lack of any
similarity of the elements of Weller’s prior offense of contributing to the delinquency of
a minor and the elements of any specific listed offense is fatal to his argument that this
prior offense does not “count” in the calculation of his criminal history. This argument

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is incorrect as a matter of law, in light of Amendment 709 and Application Note 12,
which rejected an “elements” test and adopted a multi-factor test. See Ruacho, 746 F.3d
at 84 (citing Barrientos, 670 F.3d at 871). It is also incomplete as an application of the
multi-factor test, which does not give any determinative importance to the single factor
of “the elements of the [prior] offense.” U.S.S.G. § 4A1.2, Application Note 12. It is
also wrong as a matter of fact. See Garcia-Sandobal, 703 F.3d at 1284.
      As to factual error, the probation officer—and, by extension, the prosecution,
which adopted the probation officer’s argument—suggest that “[i]t does not appear the
sentencing order specified which subsection of 709A the defendant pled guilty to.” PSIR
at ¶ 31 (Probation Officer’s Response). The criminal Complaint & Affidavit, filed May
11, 2006, in the Iowa District Court For Woodbury County, specifically charges that
Weller “did contribute or knowingly encourage, contribute, or in any manner cause a
minor to violate any law of this state or any ordinance of an[y] city” and explains that
“the defendant was with two juveniles that were out past there [sic] curfew.”
Defendant’s Sentencing Memorandum, Exhibit C (docket no. 76-3). Thus, Weller’s
prior offense plainly fell within IOWA CODE § 709A.1(3), which makes it unlawful “[t]o
knowingly encourage, contribute, or in any manner cause such child to violate any law
of this state, or any ordinance of any city.” IOWA CODE § 709A.1(3) (emphasis added).
The parties have not cited, and I have not found, any state law establishing the curfew in
question, so that curfew must have been established by a city ordinance.
      Furthermore, “encourag[ing]” and “causing” a child to violate a curfew law, as
defined in the Iowa statute prohibiting contributing to the delinquency of a minor, is no
more than “aiding and abetting” a child to violate the curfew ordinance. See State v.
Hearn, 797 N.W.2d 577, 580 (Iowa 2011) (“To sustain a conviction under a theory of
aiding and abetting, ‘the record must contain substantial evidence the accused assented to
or lent countenance and approval to the criminal act by either actively participating or

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encouraging it prior to or at the time of its commission.’” (quoting State v. Ramirez,
616 N.W.2d 587, 591–92 (Iowa 2000), overruled on other grounds by State v. Reeves,
636 N.W.2d 22, 25–26 (Iowa 2001)). A city ordinance violation is a prior offense that
is never counted under U.S.S.G. § 4A1.2(c)(2). The elements of a curfew violation are
also, in turn, comparable to the elements of “loitering,” another listed offense that is
never counted, U.S.S.G. § 4A1.2(c)(2), which requires proof of remaining in any one
place with an apparent harmful purpose of effect.” See State v. Showers, 845 N.W.2d
436, 442-46 (Iowa 2014) (discussing the requirements for a constitutional prohibition on
“loitering”); and compare United States v. Hines, 628 F.3d 101, 109 (3d Cir. 2010) (“A
person loiters, within the meaning of the Guidelines, merely by wandering, prowling, or
remaining in a public place.”). Thus, unlike the prior offenses at issue in Ruacho, which
had no overlapping elements or only slight overlap of elements with the listed offenses
identified, 746 F.3d at 854-55, 856, the elements of Weller’s prior offense of contributing
to the delinquency of a minor substantially overlap the elements of at least two “listed”
offenses in § 4A1.2(c). Compare Leon-Alvarez, 2008 WL 5429724 at *5 (finding no
similarity between the elements of a prior offense of contributing to the delinquency of a
minor and listed offenses).
       Putting the “elements” factor in its proper context as one of the five listed factors
in the five-factor test, see U.S.S.G. § 4A1.2(c), Application Note 12, I find that all of
those other factors weigh in favor of not counting Weller’s prior offense. As to the first
two factors—comparison of punishments and perceived seriousness of the offense as
indicated by level of punishment, see U.S.S.G. § 4A1.2, Application Note 12(A)—
contributing to the delinquency of a minor in violation of IOWA CODE § 709A.1(3) was
a simple misdemeanor that was punishable by a maximum of 30 days in jail or a $500
fine. See IOWA CODE § 903.1(1)(a) (2006). Weller has shown that this is less serious
punishment than could have been imposed for several of the “listed” offenses in

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§ 4A1.2(c). See Defendant’s Sentencing Memorandum, 6-7 (tables of simple and serious
misdemeanors, as defined by Iowa statutes and ordinances, listed in §§ 4A1.2(c)(1) and
(2)). Also, considering the “underlying facts,” see Garcia-Sandobal, 703 F.3d at 1284,
Weller was given no jail time and a fine of $50. Again, Weller has shown that his actual
punishment was far less than the punishments that could have been imposed for many of
the listed offenses in both § 4A1.2(c)(1) and § 4A1.2(c)(2). See Defendant’s Sentencing
Memorandum, 6-7 (tables of simple and serious misdemeanors, as defined by Iowa
statutes and ordinances, listed in §§ 4A1.2(c)(1) and (2)). Thus, these two factors weigh
in Weller’s favor, and the prosecution did not argue differently in its Response To
Defendant’s Sentencing Memorandum And Motion For Downward Variance (docket no.
80).   See Ruacho, 746 F.3d at 854 (finding that these two factors weighed in the
defendant’s favor, where the prosecution conceded the point); Leon-Alvarez, 2008 WL
5429724 at *5 (the mild punishment for the petty offense of contributing to the
delinquency of a minor, involving keeping a girl who appeared to be intoxicated out past
curfew, weighed against awarding the prior offense a criminal history point).
       The remaining two factors are the level of culpability involved and the degree to
which the commission of the offense indicates a likelihood of recurring criminal conduct
(recidivism). See U.S.S.G. § 4A1.2, Application Note 12(A); Ruacho, 746 F.3d at 855
(considering these factors and describing the latter one as the “recidivism” factor).
Unlike the situation in Ruacho, there is no prior precedent of the Eighth Circuit Court of
Appeals explaining the weight to be given to these factors as they relate to Weller’s prior
offense. See 746 F.3d at 855 (citing Foote, 705 F.3d at 308). Nevertheless, it is difficult
to describe the offense of contributing to the delinquency of a minor, at least as to
encouraging minors to violate a curfew ordinance, as suggesting a “calculating,”
“resourceful,” or “dangerous” criminal, particularly in comparison to the offenses listed
in § 4A1.2(c). Compare id. at 855 (quoting Foote, 705 F.3d at 308); see also Leon-

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Alvarez, 2008 WL 5429724 at *6 (the offense of contributing to the delinquency of a
minor by keeping a girl who appeared to be intoxicated out past curfew was not
particularly “blameworthy”). With such a prior offense—particularly in the context of
the perfectly ordinary misconduct of new high school graduates celebrating graduation
past the appointed curfew for some of them—there is not the merest hint of a correlation
to recidivism. Compare id.; see also Leon-Alvarez, 2008 WL 5429724 at *6 (concluding
that the “light sentence” actually imposed for contributing to the delinquency of a minor,
suggested “a low level of culpability and low predictive capacity for future criminality”).
Thus, these two factors also weigh strongly in favor of not counting Weller’s prior offense
in his criminal history calculation.
       It might seem reasonable to consider, as an additional “relevant factor” under the
multi-factor test in § 4A1.2(c), whether I could, as the prosecution suggests, take into
account the underlying facts of the offense in an alternative manner, such as finding over-
representation of criminal history or granting a variance, to achieve a reasonable
sentence. I will not do so, however, because, prior to Senior Judge O’Brien’s opinion
on remand, the Eighth Circuit Court of Appeals had made clear that it is reversible error
for a district court not to make a guidelines criminal history calculation under § 4A1.2(c).
See Leon-Alvarez, 532 F.3d at 815 (remanding, because the district court’s refusal to
count a 1993 conviction for contributing to the delinquency of a minor was reversible
error, where the district court had considered § 4A1.2(c) “advisory,” allowing him to
reject counting the offense because it was “akin” to listed offenses, without conducting
the mandatory guidelines calculation of the defendant’s criminal history category).
       Balancing all of the relevant factors, as required by § 4A1.2, Application Note 12,
I conclude that Weller’s prior conviction for contributing to the delinquency of a minor,
consisting of encouraging minors to violate a curfew ordinance, should not be awarded a
criminal history point.

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                   E.      Alternative Reasons For Rejecting The
                                       Calculation
       In the alternative, even if I did count Weller’s prior conviction against him in
calculating his criminal history, I would still conclude that a guideline sentence in the
range of 151 to 188 months is excessive, in light of the factors in 18 U.S.C. § 3553(a).5
Specifically, it is simply unnecessary to reflect the seriousness of the charged offense,
promote respect for the law, provide just punishment for the charged offense, adequately
deter criminal conduct, protect the public from further crimes by Weller, or provide
Weller with any needed treatment to impose an additional 16 to 20 months of
imprisonment. Indeed, I believe that imposing such additional imprisonment based solely
on Weller’s prior petty offense would encourage disrespect for the law and simply be
unjust.6




       5
         In most cases involving guideline interpretation, I would consider whether I
would disagree, on policy grounds, with an interpretation of the guidelines and multi-
factor test and application of them to Weller’s prior conviction for contributing to the
delinquency of a minor that would require assessing a criminal history point for such a
prior offense. See Pepper v. United States, 562 U.S. 476 (2011) (authorizing imposition
of non-guideline sentences based on policy disagreements with guidelines). I will not do
so here, however, because the parties have not raised the “policy disagreement” issue,
and because there may be some question as to whether or not a district court can disagree
with a criminal history guideline on policy grounds. See Leon-Alvarez, 532 F.3d at 818-
819.
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         Indeed, had Weller been eligible for the “safety valve” pursuant to 18 U.S.C.
§ 3553(f) and U.S.S.G. § 5C1.2, but for counting his prior offense for contributing to
the delinquency of a minor in his criminal history, the additional term of imprisonment
that would have been required by counting his prior conviction would have been even
more extreme and unjust.

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                                III.    CONCLUSION
      For these reasons, I declined to count Weller’s prior conviction for contributing
to the delinquency of a minor in his criminal history calculation, pursuant to U.S.S.G.
§ 4A1.2(c), and I determined that, as a result, his criminal history category was I, and
his advisory sentencing guidelines range was 135 to 168 months.
      IT IS SO ORDERED.
      DATED this 5th day of May, 2015.



                                         ______________________________________
                                         MARK W. BENNETT
                                         U.S. DISTRICT COURT JUDGE
                                         NORTHERN DISTRICT OF IOWA




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